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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

U.S. BANK TRUST NATIONAL                        §
ASSOCIATION, AS TRUSTEE FOR                     §
RASC 2006-EMX5,                                 §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §     Civil Action No. 4:22-cv-798-ALM-CAN
                                                §
OHIO GRAVY BISCUIT, INC., AN                    §
OHIO CORPORATION, AS TRUSTEE                    §
FOR THE LOVE BIRD 218 LAND                      §
TRUST,                                          §
                                                §
       Defendant.                               §

            JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       On this the 1st day of December 2022, Plaintiff U.S. Bank Trust National Association, as

Trustee for RASC 2006-EMX5 (“Plaintiff”) and Defendant Ohio Gravy Biscuit, Inc., an Ohio

Corporation, as Trustee for the Love Bird 218 Land Trust (“Ohio Gravy Biscuit” or

“Defendant”) (collectively, the “Parties”), by and through their undersigned counsel, hereby

stipulate that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), all claims and causes of

action asserted by Plaintiff against Defendant are dismissed without prejudice.

                                             Respectfully submitted,

                                             By:     /s/ Shelley L. Hopkins
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                                                  ATTORNEYS FOR PLAINTIFF

                                           By:    /s/ Kenneth S. Harter (w/ permission)
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                                                  ATTORNEYS FOR DEFENDANT


                                CERTIFICATE OF SERVICE

        I hereby certify that on this 2nd day of December 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF filing system, and will send a true and
correct copy to the following:

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ATTORNEYS FOR DEFENDANTS

                                                  /s/ Shelley L. Hopkins
                                                  Shelley L. Hopkins




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